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   EXHIBIT 11
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                         UNITED STATES DISTRJCT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                MDL No. 2741
LIABILITY LITIGATION
                                       Case No. 16-md-02741-VC

This document relates to:
l!ardeman v. Monsanto (3 :16-cv-525)




                              EXPERT REPORT OF

                           DR. ANDREI R. SHUSTOV
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                                       OFFICIAL EXPERT REPORT



                                  EDWIN HARDEMAN VS. MONSANTO



Prepared by: Andrei Shustov, M.D.



I met with Mr. Hardeman                       on November 15, 2018 in Seattle. During our encounter I
had a chance to conduct a full medical interview and comprehensive physical exam. I also reviewed
extensive medical records provided to me prior to our meeting, including but not limited to Medical
History, Family History, Social History, Laboratory Studies, Imaging Studies, Pathology Reports, and other
medical providers assessments. Below, please find the complete report of my findings and conclusions.




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PAST MEDICAL HISTORY




CURRENT MEDICATIONS




ALLERGIES




FAMILY HISTORY




SOCIAL HISTORY




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SPECIAL EXPOSURE HISTORY




PHYSICAL EXAM




                                    3
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GENERAL CHARACTERIZATION OF DIFFUSE LARGE 8-CELL LYMPHOMA (DLBCL)

   1. DLBLC is an aggressive cancer of immune cells, called B-lymphocytes. It is one of the many types
        of B-cell lymphomas and represents the most common lymphoma in adults with the annual
        incidence of approximately 5.5 new diagnoses per 100,000 men/women. The number of
        patients dying from DLBCL per year approximates 1.8 per 100,000 men/women. Both, young
        and older adults can develop DLBCL, but it is more common in patients over the age of 60 years.

   2. The causes of DLBCL are unknown in most patients. However, numerous environmental factors,
        exposures to industrial, military, agricultural or household chemical agents, exposure to ionizing
        radiation, immunodeficiency states, and autoimmune conditions are known to increase the
        individual's risk of developing and potentially causing lymphomas, including DLBCL.

   3.   In most patients, DLBCL originates in one of the body's lymph nodes (structures that harbor
        immune cells) and spreads rapidly without treatment to affect numerous lymph nodes and
        frequently other organs. Any organ in human body can be affected and compromised by DLBCL.
        Patients frequently develop systemic symptoms (fevers, night sweats, weight loos) as a result of
        severe inflammation in the body. Without quick identification and urgent proper treatment, the
        affected individuals would die from their disease within months of being diagnosed.

   4. The combination chemotherapy consisting of cyclophosphamide, doxorubicin, vincristine and
        prednisone, with addition of rituximab (R-CHOP) represents the current standard of care for
        DLBCL. Patients have to undergo at least 6 cycles of therapy to obtain the best chance of curing
        DLBCL (early stage disease might be treated with 3-4 cycles of chemotherapy with addition of
        radiation therapy). This regimen is expected to cure 65-75% of patients diagnosed with DLBCL.
        Other regimens exist to treat DLBCL but are utilized far less commonly than R-CHOP. There is
        significant heterogeneity in DLBCL at genetic, biologic, and clinical levels. Therefore, the
        probability of cure in a particular patient will depend on the specific characteristics of individual
        lymphomas (mutations in tumor cells), clinical features at presentation (such as stage of
        lymphoma at diagnosis, International Prognostic Index score - IPI, severity of organ
        involvements, etc.), and ability of the patient to withstand high toxicities of chemotherapy
        required for cure.

   5.   R-CHOP chemotherapy regimen presents significant toxicities. The acute toxic affects (while on
        and shortly after the treatment) include but not limited to nausea, vomiting, fatigue, anorexia,
        constipation, extremely low immune system with risk of severe life-threatening infections, low
        blood counts w ith risk of major bleeding, nerve damage (neuropathy), anxiety, mood
        disturbance, sleeplessness, hair loss, "chemo-brain". Long lasting or late toxicities (long after

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        finishing treatment) include persistent nerve ending damage (numbness), loss of bone strength
        (osteoporosis), heart failure, and possibility of secondary cancers (caused by chemotherapy or
        radiation).


ANALYSIS OF PATIENT'S RISKS FOR DEVELOPING DLBCL

I thoroughly and carefully reviewed Mr. Hardeman's records and took comprehensive history during our
encounter both of which served as basis of my assessment below.



   1.




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7.




8.




9.   Mr. Hardeman had very significant exposure to Roundup - an agricultural herbicide. His use of
     Roundup was both, intensive {large quantities and with no barrier to prevent
     absorption/inhalation) and prolonged (>24 years). While using Roundup he wore no protective
     accessories or used no shielding. Based on available evidence, Roundup exposure is associated
     with increased risk of developing non-Hodgkin lymphomas. It is my conclusion that Mr.
     Hardeman's exposure to Roundup is not only sufficient but exceeds the exposure that is
     reported to either cause and significantly increase one's risk of developing non-Hodgkin
     lymphoma. Moreover, I did not identify a single additional known frisk factor that could be
     contributory to causing or accelerating lymphomagenesis in Mr. Hardeman's case.




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      DISCUSSION OF MR. HARDEMAN LYMPHOMA CAUSATION



•    The link between exposure to pesticides and lymphoma development has been reported by
     numerous investigators. In a Meta-Analysis by Schinasi and Leon, investigators reviewed and
     analyzed reports published in English between 1980 and 2014. The studies that were analyzed in
     this Meta-Analysis were performed in the US, Canada, Europe, Australia, and New Zealand. Out
     of 858 articles, 44 were selected for qualitative analysis. Twenty articles provided estimated
     association between exposure to herbicide chemical groups or active ingredients and lymphoma
     development. Four articles provided association with fungicides, and 17 articles-with
     insecticides. Several of the papers included in this analysis reported specifically on glyphosate
     {Cantor et al, 1992; Hardell et al, 2002; De Roos et al, 2003; De Roos et al, 2005; Eriksson et al,
     2008; Orsi et al, 2009; and Cocco et al, 2013). This Meta-Analysis found an association between
     glyphosate and development of B-cell lymphoma with an OR 2.0 (95% Cl: 1.1-3.6) and there was
     the same OR for DLBCL subtype. Furthermore, I have observed that several of the case-control
     studies cited above adjusted for other pesticides as potential confounding factors; where as
     some did not. I have taken this issue into account in my analysis.



•     Most ofthe American cancer centers as well as cancer associations list exposure to pesticides as
     a known risk factor to developing NHL. For example, the American Cancer Society and Cleveland
     Clinic identify pesticides as a known risk factor for NHL {https://www.cancer.org/cancer/non-
     hodgkin-lymphoma/causes-risks-prevention/risk-factors.html),
     (https://my.clevelandclinic.org/health/diseases/15662-adult-non-hodgkins-lymphoma).

•    The association between exposure to Roundup/glyphosate, a known pesticide, and a risk of NHL
     development is further supported by global medical community:

         o   In March 2015 the International Agency of Research on Cancer (IARC) has classified
             g1yphosate as a probable human carcinogen (class 2A}. This was based on thorough and
             rigorous investigations by independent researchers and investigators in the field. IARC
             represents a division of the World Health Organization (WHO) (https://www.iarc.fr/)
             and was established in 1965. It is an independent body to assess potential hazards that
             can cause cancer in humans. Criteria used by IARC to evaluate a substance as a potential
             carcinogen are: 1) substance must have ubiquitous human exposure; and 2) there must
             be sufficient preliminary data to implement a potential harm and carcinogenicity in
             humans.

         o   As of the last update on 07/30/2018, IARC has evaluated 1,006 substances since its
             inception over 4 decades ago. This indicates the high selectivity of the Agency in
             deciding which substance meet the criteria for evaluation. Out of these 1006
             substances, 20% were classified as either group 1 (human carcinogens) or 2A (probable
             human carcinogens) (https://monographs.iarc.fr/agents-classified-by-the-iarc/)

         o   IARC reviews peer-reviewed published literature that includes epidemiologic studies,
             animal data, and genotoxicity studies. In addition, IARC takes into account and assesses
             plausible mechanisms of action for possible carcinogenicity of the studied compound.


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             •   Epidemiologic study that was published by McDuffie et al (Cancer Epidemiology,
                 Biomarkers, and Prevention; Vol. 10, 1155-1163, November 2001) where 517
                 cases and 1506 controls were included. The risk of NHL was statistically
                 significantly increased among glyphosate exposed individuals more than two
                 days per year with an OR of 2.12 (95% Cl: 1.20-3.73).

             •   Another analyzed study was published by DeRoos et al in 2003 (Occup Environ
                 Med. 2003 Sep;60{9}:E11.) where 650 cases and 1933 controls were evaluated.
                 The OR for glyphosate increasing the risk of developing NHL was 2.1 (95% Cl:
                 1.1-4.0).

             •   In a population-based case-control study, Eriksson et al (Int J Cancer; 2008; Oct
                 1; 123 (7}; 1657-1663) reported on 910 cases and 1016 controls and showed an
                 OR of 2.36 (95% Cl: 1.04-5.37} for developing NHL in individuals exposed to
                 glyphosate more than 10 days in their lifetime.

             •   The IARC report included the preliminary data of the Agricultural Health Study
                 {AHS} {https://aghealth.nih.gov/), which was initially published by DeRoos et al
                 in 2005 and found no association between glyphosate and NHL. The AHS is a
                 prospective study that enrolled commercial pesticide applicators from Iowa and
                 North Carolina and in the mid-1990s, and who were followed prospectively with
                 repeated questionnaires. The study was updated in 2018 (Andreotti et al) where
                 it found no association between glyphosate and NHL. This study suffered several
                 critical flaws; mainly, the dropout rate where almost 40% of participants lost to
                 follow up and the fact that the control arm included farmers with known risk
                 factor for NHL, making it rather difficult to show increased risk for the
                 glyphosate arm over the controls.

     o   Group 2A (probable) is the highest level of evidence short of a "definitive association",
         which is best established with randomized controlled study. Such study would be
         impossible and unethical to perform as it exposes patients to a potentially harmful and
         probable carcinogenic agent.

     o   The results of the IARC investigation were published in the Lancet Oncology in May 2015
         by Guyton et al (https://www.thelancet.com/journals/lanonc/article/P11S1470-
         2045(15)70134-8/fulltext).

     o   Epidemiologic studies were unable to look at subtypes of NHL when assessing
         epidemiologic causation. This is understandable as the classification of NHL has evolved
         over the years and there are many new subtypes that have been recognized that were
         not known in the late 1990s or early 2000s. The latest classification for NHL was
         published in 2016 by Swerdlow et al
         {http://www.bloodiournal.org/content/bloodjournal/127/20/2375.full.pdf) and in this
         classification, over 60 subtypes of Band T cell NHL have been identified. In addition,
         looking into specific subtypes of NHL would inevitably erode statistical power of
         conclusions given reduction in number of subjects. This shows that epidemiologic
         studies would rarely be able to investigate association between any occupational hazard

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              and types of NHL. This is analogous to studying epidemiology of breast and prostate
              cancer, where we now recognize different subtypes, but yet study the epidemiology of
              these cancers in their totality. Finally, given proposed biologic effect of glyphosate on
              lymphocytes, one would not expect cancerous transformation to be uniquely restricted
              to a particular subtype of lymphocytes, but rather represent a broad effect on these
              class of cells in the immune system, affecting the risk of developing lymphoma as a
              group.


CONCLUSIONS

   •   Mr. Hardeman has been exposed to glyphosate in a manner and with magnitude that fits within
       the published epidemiologic literature and studies where causation and an association between
       NHL and glyphosate have been demonstrated.


   •   In performing the differential diagnosis into what caused Mr. Hardeman's DLBCL, I conclude, to
       a reasonable degree of medical certainty, that his exposure to roundup/glyphosate is a
       substantial factor contributing to the development of his NHL




Andrei Shustov, M.D.




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